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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


ESTATE OF JORDAN BAKER, by                      §
and through Administrator,                      §
JANET BAKER,                                    §
                                                §
                       Plaintiff,               §
                                                §
v.                                              §          CIVIL ACTION NO. H-15-3495
                                                §
JUVENTINO CASTRO, THE CITY OF    §
HOUSTON, RPI MANAGEMENT COMPANY, §
LLC, and RPI INTERESTS I, LTD., §
                                                §
                       Defendants.              §


                            MEMORANDUM OPINION AND ORDER


       Janet Baker,         individually and on behalf of the Estate of
Jordan Baker ("Plaintiff"), brought this action against Juventino
Castro       and     the   City    of   Houston      (collectively,       "Defendants")
asserting claims for civil rights violations under 42 U.S.C. § 1982
and related state-law claims.1              The parties settled and an Agreed
Judgment terminated the action. 2               Pending before the court is John
Nicholas,          Temporary      Administrator       of   The   Estate    of   Rhogena
Nicholas, And Jo Ann Nicholas' Rule 24(b) Motion to Intervene to
Unseal       Court    Records and       Amend       the Court's Protective Order
("Motion to Intervene") (Docket Entry No. 305).                       For the reasons
explained below, the Motion to Intervene will be denied.


       1
           Complaint, Docket Entry No. 1, pp. 14-21.
      Hearing Minutes and Order, Docket Entry No. 298 (approving
       2

the parties' settlement agreement); Agreed Judgment, Docket Entry
No. 302.
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                  I.   Factual and Procedural Background

     Plaintiff filed this action on December 2, 2015, alleging that
Houston Police Officer Juventino Castro shot and killed Jordan

Baker without any lawful justification. 3           On May 12, 2016, the
court entered a protective order,          which found that the City of
Houston     and   Houston   Police   Department's    internal   files      and
investigative reports were discoverable material but ordered the

parties to keep the material confidential and to submit it under
seal if filed in conjunction with a pretrial or dispositive
motion. 4 On March 23, 2017, the court entered an Agreed Protective
Order that grand jury testimony used in the action must be kept

confidential and filed under seal. 5           The parties filed sealed
exhibits throughout the action's lengthy pretrial proceedings,
including during the summary judgment stage. 6 On December 4, 2020,



     3
         Complaint, Docket Entry No. 1, p. 1    1   1.
     4
      Protective Order, Docket Entry No. 47, p. 1 11 1-2, p. 2
11 3, 6; see also Order affirming Protective Order, Docket Entry
No. 52.
     5
         Agreed Protective Order, Docket Entry No. 62, pp. 1-2.
     6
      �,     Exhibit 7 to Plaintiff's Motion for Leave to Disclose
an Additional Expert, Docket Entry No. 7 8; Notice of Sealed
Exhibits to Plaintiff's Motion to Compel Sufficient Answers to
Requests for Admission, Docket Entry No. 95; Exhibit 1 to Response
in Opposition to Defendants Juventino Castro and the City of
Houston's Motion to Exclude or Limit Opinion Testimony of
Plaintiff's Expert Andrew Scott, Docket Entry No. 143; Exhibit List
to Plaintiff's Response to Defendant Castro's Motion for Summary
Judgment, Docket Entry No. 147-1 (listing eight exhibits as filed
under seal).
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the court entered an Agreed Judgment that disposed of all claims

asserted in the action. 7
      On January 28, 2020, John Nicholas, Jo Ann Nicholas, and the
Estate of Rhogena Nicholas ( "Movants") filed their Motion to
Intervene. 8    Movants assert that Rhogena Nicholas was the victim of
an unlawful killing by a Houston police officer. 9          Movants allege
that they have potential claims against the City of Houston for
that killing. 10        They contend that Houston Police Department and
City of Houston documents filed under seal in this action are

relevant to those claims. 11         They therefore request permissive
intervention under Rule 24(b) in order to seek the unsealing of
those documents and a modification of the May 12, 2016, Protective
Order. 12    Opposing the motion, Defendants responded on February 13,
2020. 13    Movants replied on February 20, 2020. 14

      7
          Agreed Judgment, Docket Entry No. 302.
      8
          Motion to Intervene, Docket Entry No. 305.
      9
          Id. at 4-5.




      City Defendants' Response to Nicholas' Motion to Intervene
      13
to Unseal Court Records and Amend Court's Protective Order
("Defendants' Response"), Docket Entry No. 308.
      John Nicholas, Temporary Administrator of The Estate of
      14

Rhogena Nicholas, And Jo Ann Nicholas' Reply in Support of Their
Rule 24(b) Motion to Intervene to Unseal Court Records and Amend
the Court's Protective Order ( "Movants' Reply") , Docket Entry
No. 309.
                                     -3-
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                                  II.    Analysis

       "[T]he procedurally correct course" for a nonparty to seek

modification of a standing protective order in an action is to

obtain the status of intervenor through Rule 24.              See In re Beef

Industry Antitrust Litigation, 589 F.2d 786, 787, 789 (5th Cir.

1979).       An intervenor must have standing to intervene in a closed

action in which there is no live controversy between the original

parties.       Newby v. Enron Corp., 443 F.3d 416, 422 (5th Cir. 2006).

After establishing standing, the intervenor must show that it is

entitled to intervene under Rule 24.                See Fed. R. Civ. P. 24

(establishing        conditions    for    intervention   as   of   right      and

permissive intervention).          Defendants contend that Movants have

neither standing nor an entitlement to intervene under Rule 24.


A.     Standing

       A nonparty must assert some underlying right in order to

establish standing to intervene and pursue the vacating of a

protective order and unsealing of the record.            Newby, 443 F.3d at

422 (citing Deus v. Allstate Insurance Co., 15 F.3d 506, 526 (5th

Cir. 1994)).        Defendants argue that Movants have no standing to

intervene in this action. 15        Movants argue that they have standing

through an injury to their right as members of the general public

to access court documents.16



       15
            Defendants' Response, Docket Entry No. 308, pp. 6-7.
       16
            Motion to Intervene, Docket Entry No. 305, pp. 7-8.
                                         -4-
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       A party invoking federal court jurisdiction "must have suffered
an injury in fact-an invasion of a legally protected interest which
is (a) concrete and particularized; and (b) actual or imminent, not
conjectural or hypothetical."          Lujan v. Defenders of Wildlife, 112
S.    Ct.   2130,   2136   (1992)    (internal   citations   and    quotations
omitted).      The public has a presumptive right to access judicial

documents and records filed in civil and criminal proceedings.
Securities and Exchange Commission v. Van Waeyenberghe, 990 F.2d
845, 848 (5th Cir. 1993).           That right of access is harmed when a
court improperly shields documents from public view. Doe v. Public
Citizen, 749 F.3d 246, 265 (4th Cir. 2014).               Such an injury is

specific to each member of the public who seeks information that is
barred by the court's order, regardless of the fact that the injury
may be widely shared by other members of the public.               Id. at 263.
Because Movants cannot access information that the court ordered to
be filed under seal,        they have alleged an injury that supports
standing.     This alleged injury is fairly traceable to the court's
orders that the documents be filed under seal and is likely to be
redressed by the relief requested.           See Lujan, 112 S. Ct. at 2136.
       Defendants argue that this alleged injury cannot establish
standing because "giving every member of the public a right to
intervene in every case where records were sealed would render
confidentiality a nullity." 17         But injuries widely shared by the
public may result in concrete harm and thus constitute an "'injury



        Defendants' Response, Docket Entry No. 308, p. 11
       17
                                                                     1   18.
                                       -5-
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in fact'" to particular parties.            Federal Election Commission v.
Akins,    118 S. Ct. 1777,     1786    (1998).     Confidentiality is not
destroyed by such a result because the mere fact that members of
the public have standing to intervene does not mean that an
intervention to unseal records will succeed on the merits.                  See

Van Waeyenberghe, 990 F.2d at 848 (" [T]he public's common law right

[to inspect and copy judicial records] is not absolute .
'[T]he decision as to access is one left to the sound discretion of
the trial court.'") (quoting Nixon v. Warner Communications, Inc.,
98 S. Ct. 1306, 1312 (1978)).
       Defendants also argue that the Fifth Circuit precedent that
Movants cite does not establish a general public right to open
courts and records. 18    But that right is well established in this
circuit.       See Van Waeyenberghe,        990 F.2d at 848     ("Courts have
recognized that the public has a common law right to inspect and
copy     judicial   records.").     Moreover,     the   Fifth    Circuit    has
expressly held that an individual party may raise the public's
right of access as a basis for standing in challenging a court's
order to seal records.      United States v. Holy Land Foundation for
Relief and Development, 624 F.3d 685, 690 (5th Cir. 2010).                 This
precedent establishes that the public's right of access to court
documents suffices to create standing for an intervenor who seeks
modification of a court's seal and protective orders.             Defendants
cite no precedent that would suggest otherwise.                  Defendants'



       18Id.


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reliance on Allen-Pieroni v. Southwestern Correctional LLC, Civil

Case No. 3:13-cv-4089-M, 201 WL 722200 (N.D. Tex. Jan. 26, 2017),

is misplaced.       In that case the intervenors did not assert a right
to access court documents as a member of the public - they failed
to allege any basis for standing to intervene.             Id. at *4.
       The court concludes that Movants have standing to intervene to
challenge the court's order to seal documents filed in this action,
and will therefore consider whether Movants have established their
right to intervene under Rule 24(b)

B.     Permissive Intervention

       Movants ask the court to grant them permissive intervention

under Federal Rule of Civil Procedure 24(b). 19 The court may permit
intervention when the movant (1) makes a timely motion and (2) "has
a claim or defense that shares with the main action a common
question of law or fact," and (3) when permitting the intervention
will not        "unduly delay or prejudice the adjudication of the
original parties' rights."         Fed. R. Civ. P. 24(b)(1)(B) and (3).

       1.      Timeliness
       Defendants argue that the motion is untimely because too much
time has elapsed since the court approved protective orders -
May 12, 2016, and March 23, 2017. 20             The court considers four
factors to determine the timeliness of the motion to intervene:
       19
            Motion to Intervene, Docket Entry No. 305, p. 8.
      Defendants' Response, Docket Entry No. 308, p. 9 1 14.
       20

Defendants' brief incorrectly states the date and docket entry
number of the first Protective Order as November 7, 2016 [Doc.
#52]. The correct docket entry number is 47.
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(1) the length of time the party knew or should have known of its

interest in the lawsuit;           (2) the prejudice to existing parties;
(3) prejudice to the intervening party if intervention is denied;
and (4) the presence of unusual circumstances.            Doe v. Duncanville
Independent School District, 994 F.2d 160, 167 (5th Cir. 1993).
The proper reference for timeliness is when Movants became aware of

their interest in the sealed documents, not when the documents were
sealed. Movants state that their interest in the sealed documents
arose after the death of Rhogena Nicholas on January 28, 2019. 21
Movants became aware of possible claims against the City of Houston
after a period of investigation following that death, which is
their motivation for seeking sealed documents in this action.22 The
motion to intervene was filed a year after Nicholas' death, which
is not an unreasonable delay given the time needed for Movants to
assess and investigate their potential claims.
      Defendants also argue that a motion to intervene can never be
timely when made after an action is closed.23           This argument is not
supported by precedent and lacks merit.              See Brown v. Advantage
Engineering, Inc., 960 F.2d 1013, 1015 (11th Cir. 1992) (rejecting
an argument that a motion to intervene to unseal records was
necessarily untimely because the parties had reached a settlement
agreement).       Defendants do not argue that they are prejudiced by
the   timing     of      the   motion   and   have   identified   no   unusual

      21
           Motion to Intervene, Docket Entry No. 305, pp. 4, 6.
      22
           Id. at 4-5.
      23
           Id. at 9.
                                        -8-
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circumstances that would render the motion untimely.             The court

concludes that the Motion to Intervene is timely.

     2.     Common Question of Law or Fact
     Defendants argue that Movants have no claim or defense in
common with this action because there is no connection between

Rhogena Nicholas' and Jordan Baker's deaths. 24           But Rule 24(b) 's
claim-or-defense requirement is construed liberally.            Newby, 443
F.3d 416, 422 (5th Cir. 2006)       In Newby the Texas Board of Public
Accountancy sought to permissively intervene in a civil lawsuit
against      Enron   Corporation   and    other    defendants   to    obtain
court-protected discovery materials. Id. at 418. The Board sought
that information for use in its own independent investigation of
audit failures that occurred at Enron. Id. at 419. The court held
that this investigation raised questions of law and fact in common
with the lawsuit that would support permissive intervention.               Id.
at 422.       Likewise,   Movants' assertion that they seek court­
protected filings for use in their own investigation of shootings
by Houston police officers suffices to satisfy Rule 24(b) 's
claim-or-defense requirement.       See id.       Moreover, Movants do not
seek adjudication of any potential claim against the City of
Houston - they seek only adjudication of whether the court properly
sealed court documents from public view.           Permissive intervention
to petition for unsealing of court records is routine.          Id. at 424.

     24
          Defendants' Response, Docket Entry No. 308, p. 8      1    11.
                                    -9-
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       3.   Prejudice to the Original Parties

       Defendants have not argued that granting the Motion to
Intervene would prejudice them. Movants do not seek to disturb the
settlement and Agreed Judgment that resolved Plaintiff's claims
against Defendants.         The court concludes that granting the motion

would not unduly prejudice the adjudication of the original

parties' rights.         See Fed. R. Civ. P. 24(b)(3).


       4.   The Court Has Discretion to Deny the Motion to Intervene
       Based on the foregoing, Movants are qualified to permissively

intervene under Rule 24(b).          But "[p] ermissive intervention 'is

wholly discretionary with the [district] court .               . even though

there is a common question of law or fact, or the requirements of
Rule 24(b) are otherwise satisfied."          New Orleans Public Service,
Inc. v. United Gas Pipe Line Co.. 732 F.2d 452, 471 (5th Cir. 1984)
(quoting Wright      &   Miller, Federal Practice and Procedure: Civil
§   1913 at 551).
       Movants seek to obtain material that may be relevant to their
potential claims against the City of Houston.              But Movants have

already sought discovery from the City in state court.25                      On

      Motion to Intervene, Docket Entry No. 3 O 5, pp. 2, 5 - 6;
       25

Petition Pursuant to Tex. Civ. Pro. Rule 202 for Depositions to
Investigate Claims, In the Estate of: Rhogena Ann Nicholas,
Deceased, Case No. 474728-401, Harris County Probate Court No. 1.
The court may take judicial notice of filings before the
Harris County probate court because they are subject to accurate
and ready determination by a reliable source such as docket
listings on the Harris County Clerk's official website. See Fed.
R. Evid. 201(b)(2).
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July 25, 2019, Movants filed a petition in state court under Texas

Rule of Civil Procedure 202 seeking pre-suit discovery against the
City of Houston to investigate the Houston Police Department's
practices in connection with Nicholas' death. 26 The City of Houston

objected to the state court's jurisdiction, but the court denied
the objection. 27    The petition was stayed pending appeal, but the
Texas Fourteenth Court of Appeals has affirmed that denial. 28
Because only      the   City's   jurisdictional   objections     have        been
resolved, the state court may yet rule on the discovery requested
and any objections that the City may present.        Even if the Rule 202
petition does not       directly   result in discovery of the same
documents sought in the Motion to Intervene, Movants may receive
enough information to file a civil action against the City of
Houston and seek access to the documents through traditional

pretrial discovery.      The City argues that some of the documents

sought by Movants in this action (grand jury testimony) are not
"relevant to their potential claim against the City                   1129
                                                                             But

      Petition Pursuant to Tex. Civ. Pro. Rule 202 for Depositions
     26

to Investigate Claims, In the Estate of: Rhogena Ann Nicholas,
Deceased, Case No. 474728-401, Harris County Probate Court No. 1.
      Order Denying Non-Party City of Houston's Plea to the
     27

Jurisdiction Regarding Petitioner's Rule 202 Petition, In the
Estate of: Rhogena Ann Nicholas, Deceased, Case No. 474728-401,
Harris County Probate Court No. 1.
      Notice of Appeal, In the Estate of: Rhogena Ann Nicholas,
     28

Deceased, Case No. 474728-401, Harris County Probate Court 1;
Estate of Nicholas, 2020 WL 1469519, at *7 (Tex. App.-Houston [14th
Dist.] March 26, 2020, no pet. filed).
     29
          Defendants' Response, Docket Entry No. 308, p. 13       1   22.
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issues of relevance and privilege are better addressed in the

pending state court action or in a future state court action than

in this closed case.
     Movants do not explain why the state court proceeding is not
adequate for their pre-suit discovery needs.            The only argument
that might be construed as a justification for this duplicative
litigation is a suggestion that Movants cannot access the documents
they seek through other means because the City of Houston "does not
have a particularly good record when it comes to preserving the
evidence." 30 The court is not persuaded by this argument. The City
of Houston has notice that Movants seek discovery of documents
related to this action. If Movants are entitled to that discovery,
the City will be hard pressed to explain a failure to preserve and
provide it. The normal penalties for spoliation therefore suffice
to protect Movants' interest in the documents.          See, e.g., Russell
v. University of Texas of Permian Basin, 234 F. App'x 195, 207 (5th
Cir. 2007) ("A spoliation instruction entitles the jury to draw an
inference     that   a   party   who   intentionally   destroys    important
documents did so because the contents of those documents were
unfavorable     to   that   party.");     Brookshire   Brothers,    Ltd.    v.
Aldridge, 438 S.W.3d 9, 22 (Tex. 2014) ("[A] party's intentional
destruction of evidence may, absent evidence to the contrary, be
sufficient by itself to support a finding that the spoliated


     30
          Motion to Intervene, Docket Entry No. 305, pp. 9-10.
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evidence is both relevant and harmful to the spoliating party.")

(internal quotations omitted).
     There is no pervasive reason to permit Movants to intervene in
this closed action while they pursue pre-suit discovery in an
independent proceeding in state court. While Movants have standing
and are eligible to permissively intervene under Rule 24(b), the
court will exercise its discretion to deny the Motion to Intervene.


                     III.    Conclusions and Order

     For the reasons explained above,          John Nicholas,     Temporary
Administrator of The Estate of Rhogena Nicholas,               And Jo Ann
Nicholas' Rule 24(b) Motion to Intervene to Unseal Court Records
and Amend the Court's Protective Order (Docket Entry No. 305) is

DENIED.

     SIGNED at Houston, Texas, on this the 7th day of May, 2020.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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